         Case 1:19-cv-03675-TSC Document 11 Filed 01/15/20 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                   )
LISA PAGE,                                         )
                                                   )
                     Plaintiff,                    )
                                                   )
       v.                                          )        Civil Action No. 19-cv-3675 (TSC)
                                                   )
U.S. DEPARTMENT OF JUSTICE, et al.,                )
                                                   )
                     Defendants.                   )
                                                   )

                            NOTICE OF PROOF OF SERVICE

       Plaintiff Lisa Page hereby files the attached Declaration Regarding Proof of Service on

Defendants U.S. Department of Justice and Federal Bureau of Investigation.



 Dated: January 15, 2020                            Respectfully submitted,

                                                    /s/ Amy Jeffress
                                                    Amy Jeffress (D.C. Bar No. 449258)
                                                    Kaitlin Konkel (D.C. Bar No. 1021109)
                                                    ARNOLD & PORTER
                                                      KAYE SCHOLER LLP
                                                    601 Massachusetts Avenue NW
                                                    Washington, DC 20001-3743
                                                    Telephone: (202) 942-5000
                                                    Fax: (202) 942-5999

                                                    Counsel for Plaintiff Lisa Page
        Case 1:19-cv-03675-TSC Document 11-1 Filed 01/15/20 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                      )
LISA PAGE,                                            )
                                                      )
                       Plaintiff,                     )
                                                      )
        v.                                            )        Civil Action No. 19-cv-3675 (TSC)
                                                      )
U.S. DEPARTMENT OF JUSTICE, et al.,                   )
                                                      )
                       Defendants.                    )
                                                      )

                   DECLARATION REGARDING PROOF OF SERVICE

       I, Catherine McCarthy, declare as follows:

       1.      I am an adult over the age of 18. I make this Declaration Regarding Proof of Service

based on personal knowledge.

       2.      I am a law clerk at the law firm of Arnold & Porter Kaye Scholer LLP, 601

Massachusetts Avenue NW, Washington, DC 20001.

       3.      At the request of Amy Jeffress, a Partner at Arnold & Porter Kaye Scholer LLP, I

mailed via U.S. Postal Service certified mail, restricted delivery, return receipt requested, copies

of the summons (ECF No. 6), complaint (ECF No. 1), civil cover sheet (ECF No. 1-1), notices of

related case (ECF Nos. 2 and 3), sealed motion with attachments (ECF No. 4), attorney notice of

appearance (ECF No. 5), and sealed order (ECF No. 7) in the above-captioned case to Defendants

U.S. Department of Justice and Federal Bureau of Investigation.

       4.      The postmarked certified mail receipts were addressed as follows:

                       US Department of Justice
                       950 Pennsylvania Ave NW
                       Washington, DC 20530
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